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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   No. 4:04CR00281-01 JLH

NELSON MILLER

                                              ORDER

       On the 5th day of November, 2007, this matter came before the Court for trial. The

defendant, Nelson Miller, appeared in person and through his attorney, Gary D. Corum. The United

States was represented by Assistant United States Attorneys John E. Bush and George C. Vena. A

jury of twelve was duly selected and sworn. Presentation of the evidence was concluded on the

morning of November 15, 2007. Closing arguments were made and the jury was instructed on the

law on the afternoon of November 15, 2007. On the afternoon of November 19, 2007, the jury

reported that it was hopelessly deadlocked as to each count. Therefore, the Court hereby declares

a mistrial. A new trial date will be set by separate order.

       IT IS SO ORDERED this 19th day of November, 2007.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
